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     UNITED STATES DISTRICT COURT SOUTHERN
     DISTRICT OF NEW YORK
     ---------------------------------------X
     DINO ANTOLINI, individually and on behalf of :
     all others similarly situated,                                                        COMPLAINT

                                                                                       :
                                             Plaintiff,                                :   Case No.:
                                                                                       :
               - against -                                                             :   JURY TRIAL DEMANDED
                                                                                       :
                                                                                       :
     ZORBX INC., DEBBIE MABROUK and ISSA                                               :
     MABROUK,
                                                                                       :
                                                                                       :
                                                                                       :
                                              Defendants.                              :
     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - --X

          Plaintiff Dino Antolini (“Plaintiff”) individually and on behalf of all others similarly situated

(the “Class” and/ or “Class Members”), bring this class action lawsuit against defendants Debbie

Mabrouk, Issa Mabrouk, and ZORBX Inc., (“Defendants”), for defendants’ inter alia, unlawful

deceptive acts and practices, materially misleading and false advertising, unjust enrichment, and

allege as follows, based on information and belief, except as otherwise expressly stated as based on

Plaintiff(s)’s personal knowledge:

                                             NATURE OF THE ACTION

1.        ZORBX Inc. (“Defendant”) manufactures, distributes, markets, labels and sells cleaning and

     odor-removal products under its popular “ZORBX” brand name.

2.        In an effort to increase profits and to gain an advantage over its lawfully acting competitors,

     Defendants falsely and misleadingly label certain of its ZORBX products as being “NON-

     TOXIC,” “FREE OF HARSH CHEMICALS,” “SAFE FOR ALL SURFACES,” and “SAFE

     FOR PEOPLE, PETS, & THE PLANET.”




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3.      Yet the products are not “NON-TOXIC,” “FREE OF HARSH CHEMICALS,” or “SAFE.”

     That is because the products’ formulas and ingredients (and thus the products themselves) can

     cause harm to humans, animals, and/or the environment.

4.      The unlawfully labeled products at issue are [ZORBX] Multi Surface Cleaner & Odor

     Remover, Laundry Stain & Odor Remover, Superior Stain & Odor Remover, Skunk Odor

     Remover, Unscented Multipurpose Odor Remover, Bath & Kitchen Cleaner, Extra Strength

     Mold & Mildew Remover, Heavy Duty Cleaner & Odor Remover, Black Streak & Bug Cleaner,

     Stainless Steel Cleaner, Carpet Spot Cleaner, and Surface Odor Remover Paint Additive

     (collectively, the “Products”).

5.      Defendants manufacture, market, advertise, label, and sell the Products throughout New

     York and the United States.

6.      By falsely, misleadingly, and deceptively labeling the Products, defendants sought to take

     advantage of consumers’ desire for non-toxic cleaning products that are safe for humans,

     animals, and the environment. Defendants have done so at the expense of unwitting consumers,

     as well as Defendants’ lawfully acting competitors, over whom defendants maintain an unfair

     competitive advantage

7.      As a result, Plaintiff brings this action individually and on behalf of those similarly situated,

     and seek to represent a National Class and a New York Subclass (defined infra). Plaintiff seeks

     injunctive relief to stop defendants’ unlawful labeling and advertising of the Products. In

     addition, Plaintiff seeks damages, interest thereon, reasonable attorneys’ fees and costs, other

     equitable relief, and disgorgement of all benefits, pursuant to law, that defendants have enjoyed

     from its conduct. Plaintiff’s primary litigation objective is to enjoin defendants' unlawful

     labeling practices and to obtain restitution for the National Class and New York Subclass.



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                                           JURISDICTION

8.       This Court has original jurisdiction over this action pursuant to the Class Action Fairness

      Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class consists of 100 or more

      members; the amount in controversy exceeds $5,000,000, exclusive of costs and interest; and

      minimal diversity exists. This Court also has supplemental jurisdiction over the state law

      claims pursuant to 28 U.S.C. § 1367.

                                                VENUE

9.       Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the

      events and omissions giving rise to Plaintiff’s claims occurred in this District. In addition,

      Plaintiff purchased the unlawful Products in this District, and defendants have marketed,

      advertised, and sold the Products within this District.

                                               PARTIES

10.      Plaintiff Dino Antolini alleges the following based upon personal knowledge: (1) Antolini,

      who is currently a resident of the City and State of New York, purchased the ZORBX Original

      Non-Toxic Odor Remover Product and the Laundry Stain Remover Product from a large retailer

      for approximately $37 total in approximately 2021. (2) In making the purchase, Antolini relied

      upon the Product’s advertising and labeling claims that are the subject of this action—namely,

      the “Non-Toxic”, “No Harsh Chemicals” and “Safe” claims. (3) If Antolini had known that the

      Product can cause harm to humans, animals, and/or the environment, he would not have

      purchased the Products. (4) Antolini continues to see the Products available for purchase and

      desires to purchase them again if they were, in fact, “non-toxic”—i.e., if they truthfully did not

      pose a risk of harm to humans, animals, and/or the environment. (5) Antolini is, and continues to



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      be unable to rely on the “truth” of the Products’ “non-toxic” advertising claims. (6) Antolini does

      not know the exact contents, meaning, or import of the Products’ ingredients. Based on

      information and belief, the labeling of the Product purchased by Antolini is typical of the

      labeling of the Products purchased by members of the National and Sub-Class.

11.      If the Products’ formulas were actually non-toxic, not harsh, and safe, as labeled and

      advertised, Plaintiff would purchase the Products in the future. Since Plaintiff would like to

      purchase the Products again to obtain the advertised “non-toxic” benefits, he would purchase

      them again in the future—despite the fact that they were once marred by false advertising or

      labeling—as Plaintiff would reasonably, but incorrectly, assume the Products were improved

      (such that they cannot cause harm to humans, animals, and/or the environment). In that regard,

      Plaintiff is an average consumer who is not sophisticated in the chemistry or formulations of

      household cleaning products, so, like the rest of the class, he is at risk of reasonably, but

      incorrectly, assuming that Defendants fixed the formulation of the Products such that Plaintiff

      may buy them again, believing they were no longer falsely advertised and labeled. Plaintiff is,

      therefore, currently and in the future deprived of the ability to rely on the falsely advertised

      claims.

12.      Plaintiff bought the Products for household use. He wanted to avoid harm caused by harsh

      chemicals and understood non-toxic, not harsh, and safe in the manner identified above.

13.      Defendant ZORBX Inc. is an Ohio corporation with its principal place of business in

      Strongsville, Ohio, and was doing business in the state of New York during all relevant times.

      Directly and through its agents, Defendant has substantial contacts with and receives substantial

      benefits from and throughout the state of New York, not only in the sale of Products to the

      consumers at issue in this action, but also in the sale of numerous products to New York



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      businesses and consumers, in an annual approximate amount that exceeds millions of dollars.

      Defendant is one of the owners, manufacturers, and/or distributors of the Products, and has

      created, authorized, and/or ratified the false, misleading, and deceptive labeling for the Products.

      Defendant and its agents, since its inception in 2001, promoted, marketed, and sold the Products

      at issue in this jurisdiction and in this judicial district. Defendant and its agents disseminated the

      false and deceptive representations throughout this state and the nation through marketing,

      labeling, and advertising deliberately intended to encourage purchase of the Products by taking

      advantage of consumers’ desire for non-toxic and non-harsh products that do not pose a risk of

      harm to humans, animals, and/or the environment.

14.      Defendant Debbie Mabrouk (“Defendant”) is an Owner and Operator of ZORBX Inc.

      Defendant manufactures, distributes, markets, labels and sells cleaning and odor-removal

      solutions under the popular “ZORBX” brand.

15.      Defendant Issa Mabrouk is the Chief Operating Officer and Primary Inventor of the Products.

      Defendant has materially contributed to the fraudulent conduct alleged herein through, inter alia,

      knowingly mismarketing, and selling the Products as “non-toxic” and with “no harsh chemicals”

      and “safe” when Defendant knew that those representations were not accurate. Throughout the

      class period, defined infra, Defendant helped procure and has been privy to the information

      showing that the products cannot conform to those representations, yet he made them anyway.

      Defendant and his agents intentionally and willfully disseminated the false and deceptive

      representations throughout this state and the nation through marketing, labeling, and advertising

      deliberately intended to encourage purchase of the Products by taking advantage of consumers’

      desire for non-toxic and non-harsh products that do not pose a risk of harm to humans, animals,

      and/or the environment.



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                                       FACTUAL ALLEGATIONS

16.      In recent years, consumers have become especially concerned about using household

      cleaning and upkeep products that are safe for humans, animals, and the environment.

      Consumers have poured billions of dollars into the “eco-friendly” and “natural” cleaning

      products market. In fact, this market segment is expected to reach over $40 (Forty) Billion

      Dollars by 2025.

17.      In response to consumers’ desire for safe and non-toxic cleaning products, many companies

      “greenwash” their products by deceptively claiming that their cleaning products are safe.

      Unfortunately, rather than creating the safe and non-toxic products that consumers desire, many

      companies, like Defendant ZORBX, have chosen instead to “greenwash” their products through

      deceptive labeling, suggesting and outright stating that their cleaning products are safe and non-

      toxic when, in fact, they can cause harm to humans, animals, and/or the environment.

18.      Recognizing this problem, the United States Federal Trade Commission (“FTC”) created the

      “Green Guides” to help companies avoid making misleading and deceptive claims.1 The Green

      Guides specifically address the use of the term “non-toxic” in the marketing of a product, stating,

      “A non-toxic claim likely conveys that a product, package, or service is non-toxic both for

      humans and for the environment generally.”2 Accordingly, “[i]t is deceptive to misrepresent,

      directly or by implication, that a product, package or service is non-toxic. Non-toxic claims

      should be clearly and prominently qualified to the extent necessary to avoid deception.”3




1
  See generally 16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims.
2
  16 C.F.R. § 260.10(b)
3
  16 C.F.R. § 260.10(a).

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19.      Indeed, in commenting on the Green Guides, the Environmental Protection Agency (“EPA”)

      “believes that marketers will ‘rarely, if ever, be able to adequately qualify and substantiate

      such a claim of ‘non-toxic’ in a manner that will be clearly understood by consumers.”4

20.      Further, The EPA further explained:

                 [A] “non-toxic” claim conveys that a product is non-toxic for both humans and
                 for the environment generally. Demonstrating a lack of toxicity in a generic sense
                 involves testing for a broad array of endpoints (e.g., acute toxicity,
                 carcinogenicity and other chronic effects, developmental and reproductive
                 toxicity, neurotoxicity, sensitization, etc.) across a variety of species. It is highly
                 unlikely that the typical consumer product will have been subject to this degree of
                 testing with a resulting finding of “no adverse effect” for each of the endpoints
                 evaluated.”
21.      According to the EPA, “this inference might prevent consumers from taking necessary

precautions in handling a product.”

22.      The Green Guides also provide examples of marketing claims in order to “provide the

      Commission’s views on how reasonable consumers likely interpret certain claims.” The FTC

      provided the following example:

                 “A marketer advertises a cleaning product as “essentially non-toxic” and “practically
                 non-toxic.” The advertisement likely conveys that the product does not pose any
                 risk to humans or the environment, including household pets. If the cleaning
                 product poses no risks to humans but is toxic to the environment, the claims would be
                 deceptive.”

23.      This example demonstrates that even when “non-toxic” claims are qualified by such terms as

      “essentially” or “practically,” they are nonetheless construed by reasonable consumers as “not

      pos[ing] any risk to humans or the environment, including household pets.” Thus, tautologically,

      broad and unqualified non-toxic claims, such as the ones present on the Products, would even




4
 EPA Comments on Proposed Revisions to Green Guides 2010 (available at
https://www.ftc.gov/sites/default/files/documents/public_comments/guides-use-environmental-
marketing-claims-project-no.p954501-00288%C2%A0/00288-57070.pdf. (last accessed
11/15/2021)

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      more strongly convey the meaning that the Products do not pose any risk of harm to humans,

      animals, or the environment.

24.      The type of deceptive advertising and marketing employed by Defendants has been

      admonished by the National Advertising Division of the Council of Better Business Bureaus Inc.

      (NAD), which “monitors national advertising in all media, enforcing high standards of truth and

      accuracy” and “examines advertising claims made for . . . ‘green’ or natural claims.5

25.      As relevant here, the NAD, in its recent March 2020 recommendation that the company

      Windex discontinue its marketing and use of its “Non-Toxic Formula,” (affirmed by the

      appellate National Advertising Review Board August 6, 2020), the board held that an unqualified

      non-toxic claim will mislead consumers to equate the term “non-toxic” with a lack of

      harmfulness.

26.      Specifically, the BBB and NARB concluded that an unqualified non-toxic claim will mislead

      “reasonable consumers to conclude that product misuse poses no health risks, even those that are

      not severe or are more transient in nature.”6

                     ZORBX’S PRODUCTS ARE DECEPTVIELY MISLABELED

27.      As described supra, Defendants manufacture, market, advertise, label, and sell ZORBX

      cleaning and odor-removal products.

28.      Defendants label the Products as “Non-Toxic” and “Safe for All Surfaces” and “Safe for

      People, Pets & the Planet” that contain “No Harsh Chemicals.”




5
 https://bbbprograms.org/programs/nad/nad-contact-us (April 2, 2020).
6
 See https://bbbprograms.org/media-center/newsroom/narb-recommends-s.c.-johnson-discontinue-
unqualified-non-toxic-claim-on-windex-vinegar-glass-cleaner. (Last accessed December 16, 2021)

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29.      Upon information and belief, there are at least eleven Product lines at issue. Some of the

      eleven are sold in multiple variations7 of packaging, bringing the total number of mislabeled

      products to eighteen. True and correct images of the Products are reprinted below. [ZORBX]:

         1) Unscented Odor Remover (for Human use and Pet/ Skunk use)




7
  ZORBX Odor Remover is available in approximately seven different iterations, all with the same exact
ingredient disclosures, including, but not limited to [ZORBX] 1 gal. Unscented Odor Remover, 2 oz
Unscented Travel Pack, 7.5 oz Unscented Odor Remover, 16 oz Unscented Odor Remover, Unscented
Multipurpose Odor Remover, Unscented double deal, Unscented 3-piece value pack, Unscented 4-piece
value pack, Unscented Pet Odor Remover, and Unscented Skunk Odor Remover. See imaging below.

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2) Carpet Spot Cleaner




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3) Superior Stain & Odor Remover




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4) Laundry Stain & Odor Remover




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5) Extra Strength Bath and Kitchen




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6) Extra Strength Mold & Mildew Remover




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7) Heavy Duty Cleaner & Odor Remover




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8) Black Streak & Bug Cleaner




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9) Stainless Steel Cleaner




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10) Multi Surface Cleaner & Odor Remover




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11) Surface Odor Remover Paint Additive




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30.      Defendants unqualified and unsubstantiated ‘Non-Toxic” marketing ploys are deceptive,

      misleading, and in violation of law.

31.      But first, as a preliminary matter, defendants do their absolute best to conceal what

      ingredients make up their products. The Products’ labeling does not adequately disclose to the

      consuming public the true nature of the ingredients contained in the Products. Numerous state

      laws have prohibited such behavior. For example, Article 35 of the of New York Code of Rules

      and Regulations Part 659 (CRR-NY 659.6) lists New York State’s required disclosures for all

      household cleansing products. Further, the California Cleaning Product Right to Know Act,

      codified at Cal. HSC Code § 108950 et seq (2017), mandates that chemical ingredients be fully

      disclosed for cleaning products marketed and sold such that “consumers and workers with

      ingredient information about designated products that encourages informed purchasing decisions

      and reduces public health impacts from exposure to potentially harmful chemicals.”




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32.      Specifically, rather than precisely identifying the chemical ingredients contained in the

      Products, Defendants uniformly categorize numerous groups of ingredients as “wetting and

      cleaning agents, purified water, alcohol, odor eliminator[s], detergents, and emulsifiers.”

      An example is provided below, as well as on pages 16-19 beginning with the word

      “INGREDIENTS” in all white lettering. See Photograph directly below.




33.      By doing so, Defendants conceal from the consuming public the chemical ingredient makeup

      of their products. The “ingredient” disclosure, if it may even be called such, is a compilation of

      broad and generalized pseudo-technical categories of categorial compounds. It is little more than

      a fraudulent sham designed to distract and mislead consumers from what the Products actually

      contain, in direct violation of numerous state laws and regulations.8

34.      In fact, the photograph above is not an isolated incident; Virtually all of the Products contain

      the same feigned ingredient disclosure list.



8
 See e.g., Article 35 of the New York Environmental Conservation Law, New York Code of Rules and
Regulations Part 659 (CRR-NY 659.6) (listing NYS required disclosures for all household cleansing
products), and the California Cleaning Product Right to Know Act. See Cal. HSC Code § 108950.
Pursuant to Art. 35 (explaining that cleaning product ingredient disclosures must actually disclose and
qualify the ingredients and components contained therein).

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35.      Worse yet, since Plaintiff’s initial communication with defendants’ counsel about their

      unlawful behavior,9 defendants have uniformly removed any and all imaging of their ingredient

      disclosures. They have done this both on their own website, as well as on major retailers such as

      Amazon, Walmart, Lowes, Ace Hardware, True Value Hardware and Bed, Bath & Beyond.

36.      Thus, rather than constructively engaging with the problems so highlighted by Plaintiff,

      defendants have embarked upon an intentional & deliberate coverup that is pervasive and

      ongoing. Plaintiff and the class are entitled to full punitive remedies at law because of

      Defendants’ dilatory and unlawful tactics.

37.      Second, based on the “NON-TOXIC”, “NO HARSH CHEMCIALS” and “SAFE”

      representations, reasonable consumers, including Plaintiff, believe that the Products do not pose

      any risk of harm to humans, animals, and/or the environment.

38.      Defendants prominently and uniformly label the front (and back) display panels of the

      Products with the label “NON-TOXIC” and “SAFE.” The label is set against—and highlighted

      by—an eye-catching background and/or font color. See Photographs, supra pgs. 8-21.

39.      Defendants also prominently and uniformly label the ingredient display panel of the Products

      with the label “NON-TOXIC,” “NO HARSH CHEMICALS”, “SAFE FOR ALL SURFACES”,

      and “SAFE FOR PEOPLE, PETS & THE PLANET.”

40.      The label is set against—and highlighted by—an eye-catching background and/or font color.

      See Photograph below, as well as, supra pgs. 15-19.




9
 In October 2021 Plaintiff sent Defendants a detailed demand for action letter outlining many of the
problems with the Products and their marketing. In response, Defendants scoffed at Plaintiff without
engaging in any productive discussion or action.

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41.      However, in spite of the labeling, the Products do, in fact, pose a risk of harm to humans,

      animals, and/or the environment. That is because they contain certain ingredients, which, at their

      given concentrations in the Products, can cause harm to humans, animals, and/or the

      environment.

42.      As such, while defendants make their prominent and unqualified non-toxic claims on the

      Products’ packaging, the packaging fails to disclose the presence of the harmful and toxic

      compounds.

43.      Since defendants unlawfully omit both the specific chemical ingredients contained in its

      products, as well as and weight and concentration fraction information, despite its claim that




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      “that transparency is an essential part of choosing safe and effective products for your home,”

      defendants have, by definition, committed fraudulent and deceptive practices.

44.      As such, the second prong of defendants’ deception is such that the Products’ ingredients are

      elementally inconsistent with an unqualified non-toxic claim as that term is applied and

      understood by consumers.

45. Upon information and belief, Defendants began the scheme in or about 2001 and it has

      continued uninterrupted since that time.

                                   THE PRODUCTS’ COMPOSITION

46.      As explained, supra, defendants have hidden and are hiding the ball on what actual

      ingredients are contained within their products.

47.      Defendants’ obfuscation notwithstanding, given the ingredients that are known, (see infra).

      defendants cannot, without misrepresenting the truth, label its Products as ‘Non-Toxic,’ ‘Not

      Harsh’ and ‘Safe for People, Animals and the Environment.’

48.      Manufacturers in the U.S. may be required to make the ingredient disclosures pursuant to

      state law, and in the case of chemicals with known health hazards, pursuant to the Occupational

      Safety and Health Administration’s (OSHA’s) Hazard Communication Standard.10 The Hazard

      Communication Standard (HCS) (29 CFR 1910.1200(g)), revised in 2012, requires that the

      chemical manufacturer, distributor, or importer provide Safety Data Sheets (SDSs) (formerly

      MSDSs or Material Safety Data Sheets) for each hazardous chemical to downstream users to

      communicate information on these hazards.11




10
   Isaacs, KK, Phillips, KA, Biryol, D, Dionisio, KL, and Price, PS. 2018. Consumer product chemical
weight fractions from ingredient lists. J Expo Sci Environ Epidemiol, 28(3): 216–222.
11
   See https://www.osha.gov/Publications/OSHA3514.html (citing 29 CFR § 1910.1200(g)).

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49.      Many consumer products disclose ingredient lists that are constructed using specific

      guidelines, such as those used to develop SDSs’ and Patent or Trademark applications, which are

      intended to provide information about the hazards posed by a substance or product.

50.      Defendants do not publicly list or disclose the concentrations of any ingredient contained in

      the Products. No such list or disclosure is found on the products packaging, on the products

      labeling, or at its operating URL: https://zorbx.com/solutions/.

51.       In order to glean the ingredient disclosures, Plaintiff’s counsel has investigated the (1)

      available Safety Data Sheets (“SDS”), and (2) the ingredient lists of the cleaning products in

      question contained in the available United States Patents.

52.      Introduction and reliance on defendants Safety Data Sheets and marketing materials is proper

      as “[c]ourts have [taken] judicial notice of materials in the public record, such as federal

      copyright registrations, newspaper articles, and regulatory filings […]”. Hesse v. Godiva

      Chocolatier, Inc., 463 F.Supp.3d 453, 462 (S.D.N.Y. 2020).

53.      Similarly, introduction and reliance on defendants’ Patents is prima facie appropriate where

      the allegations are incorporated therein by reference. See Am. Time Exchange, LLC v. Tissot SA,

      2017 WL 4712634, at *1 n.1 (S.D.N.Y. Sept. 27, 2017) (“[A] court ‘may properly take judicial

      notice of official records of the United States Patent and Trademark Office.”).

54.      Relevant information has also been obtained from, inter alia, (3) toxicity studies in the

      published scientific literature, (4) Cosmetic Ingredient Reviews (CIRs), (5) Human and

      Environmental Risk Assessments (HERA) on ingredients in household cleaning products, (6)

      European Centre for Ecotoxicology and Toxicology of Chemicals (ECETOC) reports, (7)

      European Scientific Committee on Consumer Safety opinions, and (8) other regulatory

      documents.



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55.      Upon information and belief, defendants are in possession of additional documentation that

      further details the exact nature of the toxic and harmful ingredients and chemicals contained

      within the Products.

56.      Only by examining Defendants SDS’s and Patent Registrations can any member of the

      consuming public attempt to discern any ingredients or ingredient concentrations in the Products.

57.      An ingredient is supposed to be disclosed on an SDS if it meets the Globally Harmonized

      System of Classification and Labeling of Chemicals (GHS) classification criteria as a hazardous

      substance and its content exceeds the relevant cut-off value, or if it presents a health hazard

      below the cut-off value.12 For example, a skin irritant need not be disclosed in a SDS unless its

      concentration is equal to or greater than 1% to 5%, depending on whether it is considered to be a

      skin corrosive (Category 1) or a skin irritant (Category 2or 3).

58.      A chemical substance may receive a GHS Classification when there is a minimum

      concentration limit of a hazardous substance to trigger the classification of a mixture containing

      it or where the minimum concentration presents a health hazard. For example, GHS

      classification H314 corresponds to a hazardous substance that causes severe skin burns and eye

      damage.13 A GHS Classification is sufficient to indicate that a particular chemical substance is

      harmful, though it is not a necessary prerequisite.

59.      Specifically, two distinct SDSs were consulted to provide some pertinent information related

      to the Products’ ingredients and/ or ingredient concentrations: (1) ZORBX Unscented Odor

      Remover Safety Data Sheet (2010 version with 2015 and 2019 revisions) and (2) ZORBX Mold

      & Mildew Stain Remover Safety Data Sheet.


12
   OSHA Brief. 2012. Hazard Communication Standard: Safety Data Sheets. DSG BR-3514 2/2012.
https://www.osha.gov/hazcom/guidance.
13
   GHS Hazard Statement List. 2016.
http://www.chemsafetypro.com/Topics/GHS/GHS_hazard_statement_h_code.html

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60.        The two SDSs, along with the Defendants Patent (described infra) help describe some of the

       actual concentrations of the ingredients in the Products.

61.        Those in-use concentrations of the ingredients (listed infra) are capable of causing harm to

       people, animals, and the environment.

62.        Even with this minimal peek behind the curtain, defendants’ SDSs do not come to close to

       properly disclosing the Products’ complete chemical ingredient and weight fraction information.

63.        In the absence of chemical ingredient and weight fraction information from the supplier or

       from the SDSs, quantitative Patent-based information has historically been used to discern

       ingredient compositions ranges14 and to determine the range of ingredient concentrations in the

       Products.

64.        To this end, The United States Patent and the Safety Data Sheet for defendants’ ‘Odor

       Remover Formula’ is significant.15

65.        Every Product at issue contains the formula described in the Odor Remover Patent

       (hereinafter ‘The Patent’) and the matching Data Safety Sheet.16

66.        There are numerous chemical ingredients and chemical reactions that are part of the Products

       elemental makeup.

67.        As a preliminary matter, according to defendants’ own data safety sheet, “2 % of the [oder-

       romoval] mixture consists of ingredient(s) of unknown toxicity.”17 As such, before even

       undertaking any examination of the known toxic chemicals contained in the products (as gleaned


14
   Isaacs, KK, Phillips, KA, Biryol, D, Dionisio, KL, and Price, PS. 2018. Consumer product chemical
weight fractions from ingredient lists. J Expo Sci Environ Epidemiol, 28(3): 216–222.
15
   Mabrouk, Issa. (Filed 2008, Published 2012). ZORBX- Deodorizing Composition and Method of
Forming Thereof. U.S. Patent No. 8,318,806. U.S. Patent Office.
https://patents.google.com/patent/US20090092568A1/en
16
   See ZORBX Unscented Odor Remover SDS (November 2015) available at
http://salkeiz.or.safeschoolssds.com/document/repo/b00d6769-df46-4335-86fb-b0688f77efe3
17
     See supra note 15 at 2.


                                                   29
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       from appropriate data safety sheets, patents, and product marketing/ informational materials),

       defendants’ deception is prima facie established. Defendants advertise as Non-Toxic and without

       any Harsh Chemicals, telling the consuming public, without any substantiation or qualification

       whatsoever, that their products are without toxic ingredients and safe. Yet, they do not even

       know what 2% of their Products’ ingredients contain, much less how toxic those missing

       ingredients are or how the unknown quantity interacts with the other ingredients. As a matter of

       law, defendants have committed deceptive practices and Plaintiff and the class are entitled to

       their full remedies at law.

68.          The Odor Remover formula is also “Toxic to aquatic life with long lasting effects” and “may

       cause slight eye irritation.”18

                THE INGREDIENTS IN THE PRODUCTS ARE CAPABLE OF CAUSING
                     HARM TO HUMANS, ANIMALS AND THE ENVIRONMENT
69.         The Products contain ingredients that are capable of causing, and have caused, harm to

       humans, animals, and the environment.

70.         The Products’ ingredients include, but are not limited to, the following:

            •    Alcohol, C12-14, Ethoxylated

            •    Sodium Iminodisuccinate

            •    Zinc Ricinoleate (Zinc Salt of Ricinoleic Acid)

            •    Zeolites

            •    Sulfosuccinic Acid

            •    Phosphonic Acid;

            •    Sodium lauryl sulfate

            •    Cinnamyl Alcohol


18
     See id. at 2.


                                                     30
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71.        The toxic ingredients and their effects are listed below.

72.        Alcohol, C12-14, Ethoxylated: C12‐14 AE7 is a non‐ionic surfactant, belonging to the

       group of alcohol ethoxylates, with 7 moles of ethylene oxide. At concentrations as low as .1%

       wt, it can cause serious eye damage and irritation as well as serious skin irritation and damage.19

       It can also cause severe damage to the respiratory and/ or nervous systems if inhaled or ingested

       by humans and is extremely toxic to aquatic life with long-lasting effects.20 Further, according to

       the classification provided by companies to European Chemicals Agency (ECHA), “this

       substance is very toxic to aquatic life and is harmful to aquatic life with long lasting effects.”21

       Defendants’ Odor Remover formula SDS describes C12‐14 AE7 as occurring at a concertation

       of between “1-5%” as a stand-alone element. Further, another “1-5% of the same Odor Remover

       Formula is described as a trade secret where “[t]he exact percentage (concentration) of

       composition has been withheld as a trade secret.” As such, C12‐14 AE7 occurs in the Products

       between 10 to 50 times the applicable toxicity threshold.

73.        Sodium Iminodisuccinate: Also known as ‘Tetrasodium Iminodisuccinate’ and

       ‘Iminodisuccinate Acid Sodium Salt’; an industrial chelating agent used to reduce naturally-

       occurring dissolving minerals and reduce coloration in cleaning products’ chemical interactions.

       It is considered hazardous under the criteria of the U.S. Federal OSHA Hazard Communication

       Standard 29 CFR 1910.1200. With an in-use concentration ranging from as low as 1.0% to

       35%,22 it carries the risk of high flammability; irritation sensitization, irritation to skin, eyes, and




19
     https://echa.europa.eu/brief-profile/-/briefprofile/100.105.704
20
  See HERA, Human & Environmental Risk Assessment - Alcohol Ethoxylates Version 2.0, (September 2009)
https://www.heraproject.com/files/34-f-09%20hera%20ae%20report%20version%202%20-
%203%20sept%2009.pdf
21
     https://echa.europa.eu/substance-information/-/substanceinfo/100.105.704
22
     https://www.medline.com/media/catalog/Docs/MSDS/MSD_SDSD94459.pdf at 2.


                                                       31
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      the respiratory system.23 Upon examining the withheld trade secret, which can be at least

      partially discerned from Defendants Odor Remover patent, Sodium Iminodisuccinate “comprises

      about 1 to 30 wt. %” of the total composition of the formula.

74.      Zeolites: A group of both natural and synthetic porous crystalline aluminosilicates.24 Their

      composition may consist of an aluminosilicate framework containing alkali or alkaline earth

      cations. Zeolites exhibit fibrous, cuboidal, or other crystalline morphologies. The Products

      contain zeolite wt. % concentrations from 0.01 to 60 wt. %. At concentrations as little as .01 wt.,

      %, they may evoke pulmonary changes leading to irritation of the respiratory tract and

      Pulmonary inflammatory responses, particularly those caused by natural occurring zeolites, can

      lead to fibrosis and even mesotheliomas. Synthetic zeolite structures, usually cuboidal, produce

      irritation of the eyes and mucous membranes.

75.      Sulfosuccinic Acid: A sodium-based solubility promoter surfactant used in various chemical

      reactions to lower the surface tension between liquids. At concentrations of just .5%, SA has

      H314 and H318 GHS Classifications as it “causes severe skin burns and eye damage [Danger

      Skin corrosion/irritation]” and “causes serious eye damage [Danger Serious eye damage/eye

      irritation].”25 Sulfosuccinic acid comprises between 1 and 20 wt. % of the total composition of

      the Products odor remover formula.

76.      Cinnamic Alcohol: A primary alcohol comprising an allyl core with a hydroxy substituent at

      the 1-position, found as natural occurring in cinnamon. In concentrations as low as .002/2

      (.001%), acute toxicity and sensitization has been found in rats, mice, rabbits, and guinea pigs.26


23
   http://www.saapedia.org/en/saa/?type=detail&id=6721
24
   John A. Thomas and Bryan Ballantyne, Toxicological Assessment of Zeolites, Journal of the American College of
Toxicology VOL. 11(3): 259-266.
25
   https://pubchem.ncbi.nlm.nih.gov/compound/Sulfosuccinic-acid#section=GHS-Classification (last accessed
December 18, 2021)
26
   https://pubchem.ncbi.nlm.nih.gov/compound/Cinnamyl-alcohol#section=FDA-Requirements (last accessed
December 23, 2021)


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      The Environmental Working Group (‘EWG’), a nonprofit, non-partisan organization that

      specializes in research and advocacy in the areas of toxic chemicals, drinking water pollutants,

      agricultural subsidies, and corporate accountability, has labeled CA as a known human immune

      system toxicant or allergen.27 CA is found at varying concentrations of .01-60 wt. % within the

      Products.28

77.      Sodium Lauryl Sulfate: An anionic surfactant. The Cosmetic Ingredient Review reports that

      SLS is an irritant at a concentration of 2 percent or greater, and recommends that cosmetic

      products should not contain concentrations greater than 1 percent.29 SLS is found at a

      concentration of 1-20 wt. % within the Products.30

78.      Phosphonic Acid: A phosphorus oxoacid that consists of a single pentavalent phosphorus

      covalently bound via single bonds to a single hydrogen and two hydroxy groups. It has a role as

      a fungicide. When present in chemical reactions, it has numerous GHS classifactions including:

      H290-Corrosive to Metals; H302-Acute oral toxicity; H314-severe skin burns/corrosion/irritation

      and eye damage; H318-serious eye damage; H335- respiratory irritation and organ toxicity.31

79.      Zinc Ricinoleate (Zinc salt of Ricinoleic Acid): A castor-based purified fatty acid

      compound. Due to its polymeric salt structure, ‘Zinc R’ is limited in its ability chemically bond

      to odor intensive organic substances and negate their odor causing potential. The harmonized

      system of hazard classification gives Zinc R a score of H400 and H410,32 meaning that it is both




27
   https://www.ewg.org/skindeep/ingredients/701377-cinnamyl-alcohol-CINNAMYL_ALCOHOL-
CINNAMYL_ALCOHOL-CINNAMYL_ALCOHOL/ (last accessed December 23, 2021)
28
   See supra note 15 at 4.
29
   https://www.livestrong.com/article/174367-dangers-of-sodium-lauryl-sulfate/.
30
   See supra note 15 at 3.
31
   https://pubchem.ncbi.nlm.nih.gov/compound/dihydroxy_oxo_phosphanium#section=Safety-and-
Hazards.
32
   https://echa.europa.eu/information-on-chemicals/cl-inventory-database/-/discli/details/114545

                                                  33
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      “acutely and chronically hazardous to the environment.”33 At concentrations as low as .3%, it is a

      level 2 eye irritant, skin sensitizer, and Zinc R comprises 0.01 to 60 wt. % of the odor remover

      formula composition.34

80.       Besides the ingredients listed above, between 1-8 wt. % of the Products chemicals are hidden

      from the public as a “Supplier Trade Secret.”35

81.       The Supplier Trade Secret contains airborne contaminants occurring in gaseous form36 that

      that can penetrate beyond the terminal bronchioles into the gas-exchange region of the lungs.37

82.       The airborne contaminants in the trade secret have very low respirable particulate fractions.

83.       This means that even very sporadic and limited incremental use of the Products can cause

      unsafe dust, chemical, and fume particles to permeate in the radius of usage at just threshold

      levels of 1 wt. %.38

84.       The Supplier trade secret is also toxic to aquatic life with long-lasting effects, including algae

      and fish.39

85.       By no means is the above list and effects the full extent of defendants’ toxic ingredient

      scheme.

86.       The consuming public has repeatedly voiced their anger and frustration about the Products.

      To this end, defendants are well aware of the issues, and have been for some time.




33
  https://echa.europa.eu/information-on-chemicals/cl-inventory-database/-/discli/notification-
details/114545/1437973
34
   See supra, note 15 at 4.
35
   Mold & Mildew Stain Remover Safety Data Sheet (2018). Available at
https://hw.menardc.com/main/items/media/ZORBX001/SDS/6473672.pdf at 2.
36
   See id. at 4.
37
   World Health Organization, Hazard Prevention and Control in the Work Environment: Airborne Dust (1999)
https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&uact=8&ved=2ahUKEwjjj7y8sv
_0AhWiRTABHVs3D6sQFnoECAgQAw&url=https%3A%2F%2Fwww.who.int%2Foccupational_health%2Fpubli
cations%2Fen%2Foehairbornedust3.pdf&usg=AOvVaw3N90wxuM3Zb0g0p5aPyLY9 at 8, 18.
38
    See supra, note 35 at 4, 9.
39
   See id. at 7.


                                                   34
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87.       Many consumers have expressed their dissatisfaction and dismay with the Products labeling,

      use, and effects. However, defendants have refused to correct their misdeeds and have willfully

      neglected to fix the issues.

88.       Some of the complaints about the misrepresentations are shown below: 40




40
     All reviews incorporated herein found directly at https://www.amazon.com/zorbx.

                                                    35
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                              37
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 PLAINTIFFS AND REASONABLE CONSUMERS WERE MISLED BY THE PRODUCTS

89.     Labeling the Products as being “NON-TOXIC”, containing “NO HARSH CHEMICALS”,

      “SAFE FOR ALL SURFACES”, and “SAFE FOR PEOPLE, PETS, & THE PLANET” when the



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      Products can cause harm to humans, animals, and/or the environment is wholly misleading and

      deceptive.

90.       By misleadingly and deceptively labeling the Products, as described herein, Defendants

      sought to take advantage of consumers’ desire for true non-toxic, safe cleaning products.

      Defendants have done so at the expense of unwitting consumers—many of whom seek to use

      safe products and protect their household members and pets—and Defendants’ lawfully acting

      competitors, over whom Defendants maintain an unfair competitive advantage.

91.       The representations described above were and are material to reasonable consumers,

      including Plaintiff, in making purchasing decisions. Indeed, Plaintiff relied on Defendants’

      misrepresentations, described herein, in making the decision to purchase the Products.

92.       At the time Plaintiff purchased the Products, Plaintiff did not know, and had no reason to

      know, that the Products’ labeling and advertising were false, misleading, deceptive, and unlawful

      as set forth herein.

93.       Defendants materially misled and failed to adequately inform reasonable consumers,

      including Plaintiff, that the Products can cause harm to humans, animals, and/or the

      environment.

94.       Plaintiff and reasonable consumers would not have purchased the Products if they had known

      the truth. Accordingly, based on Defendants’ material misrepresentations and omissions,

      reasonable consumers, including Plaintiff, purchased the Products to their detriment.

95.       It is likely, however, that Plaintiff would purchase the Products in the future if they were

      properly labeled, and/or the Products complied with the labeling and advertising statements.

      Specifically, Plaintiff would like to purchase the Products again if the Products no longer posed a

      risk of harm to humans, animals, and/or the environment. However, Plaintiffs do not know



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      whether the Products will be truly non-toxic, not harsh, and safe, and, otherwise, are unable to

      rely in the future on the Products’ advertising claims.

                          THE PRODUCTS ARE SUBSTANTIALLY SIMILAR

96.      Plaintiff purchased the ZORBX Original Non-Toxic Odor Remover Product and the Laundry

      Stain Remover Product. The additional-unpurchased Products are substantially similar to the

      Products purchased by Plaintiff. All eleven Products are cleaning and odor remover products

      sold by Defendants that are advertised and intended for household cleaning. All of the Products

      are marketed, advertised, and sold under the ZORBX brand. All of the Products are sold to

      consumers as “Non-Toxic”, “Not Harsh” and “Safe for People, Pets, & the Planet.” All of the

      Products are labeled with the same claims, presented on both the front horizontal ribbon of the

      packaging and on both sides of the back labeling. The labels are placed in the same location on

      each Product’s packaging. All of the Products are sold in similarly looking “spray bottles” of

      identical shape and size, and all are designed to be applied by consumers in the same way. All of

      the Products can cause harm to humans, animals, and/or the environment. All of the Products

      contain overlapping ingredients, including ingredients that pose a risk of harm to eyes, skin,

      lungs, aquatic life, and natural habitats. All of the Products contain the odor remover formula.

      All of the misleading effect of the Products’ labels is the same for all Products.

                                   CLASS ACTION ALLEGATIONS

97.      Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

      Procedure 23(b)(2) and 23(b)(3) on behalf of themselves and all others similarly situated, and

      as members of the Classes defined as follows:

                     All residents of the United States who, within the applicable time period of
                     Defendants’ fraud, purchased the Products (“Nationwide Class”); and




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                     All residents of New York who, within the applicable time period of Defendants’
                     fraud, purchased the Products (“New York Subclass”).

98.      Excluded from the Class are: (i) Defendants, its assigns, successors, and legal

      representatives; (ii) any entities in which Defendants have controlling interests; (iii) federal,

      state, and/or local governments, including, but not limited to, their departments, agencies,

      divisions, bureaus, boards, sections, groups, counsels, and/or subdivisions; (iv) all persons

      presently in bankruptcy proceedings or who obtained a bankruptcy discharge in the last three

      years; and any judicial officer presiding over this matter and person within the third degree of

      consanguinity to such judicial officer.

99.      Plaintiff reserves the right to amend or otherwise alter the class definitions presented to the

      Court at the appropriate time in response to facts learned through discovery, legal arguments

      advanced by defendants, or otherwise.

100.             This action is properly maintainable as a class action pursuant to Federal Rule of Civil

      Procedure 23 for the reasons set forth below.

101.             Numerosity: Members of the Class are so numerous that joinder of all members is

      impracticable. Upon information and belief, the Nationwide Class consists of tens of thousands

      of purchasers (if not more) dispersed throughout the United States, and the New York Subclass

      likewise consists of thousands of purchasers (if not more) dispersed throughout the State of New

      York. Accordingly, it would be impracticable to join all members of the Class before the Court.

102.             Common Questions Predominate: There are numerous and substantial questions of

      law or fact common to all members of the Class that predominate over any individual issues.

      Included within the common questions of law or fact are:

                 a. Whether Defendants engaged in unlawful, unfair or deceptive business practices by
                 advertising and selling the Products;



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    b. Whether Defendant’s conduct of advertising and labeling the Products as being
    “NON-TOXIC” “NOT HARSH” and “SAFE” when the Products’ formulas (and thus
    the Products themselves) can cause harm to humans, animals, and/or the environment
    constitutes an unfair method of competition, or unfair or deceptive act or practice, in
    violation of NY §§ GBL 349 and 350;
    c. Whether Defendants used deceptive representations in connection with the sale of
    the Products in violation of NY §§ GBL 349 and 350;
    d. Whether Defendants represented that the Products have characteristics or quantities
    that they do not have in violation of NY §§ GBL 349 and 350;
    e. Whether Defendants advertised the Products with intent not to sell them as
    advertised in violation of NY §§ GBL 349 and 350;
    f. Whether Defendant’s labeling and advertising of the Products are untrue or
    misleading in violation of NY §§ GBL 349 and 350;
    g. Whether Defendants knew or by the exercise of reasonable care should have
    known its labeling and advertising was and is untrue or misleading in violation of NY
    §§ GBL 349 and 350;
    h. Whether Defendants’ conduct is a deceptive and unfair business practice within the
    meaning of NY § GBL 349;
    i. Whether Defendants knew or by the exercise of reasonable care should have known
    that its labeling and advertising was and is untrue or misleading in violation of NY §§
    GBL 349 and 350;
    j. Whether Plaintiff and the Class paid more money for the Products than they
    actually received;
    k. How much more money Plaintiffs and the Class paid for the Products than they
    actually received;
    l. Whether Defendants’ conduct constitutes breach of express warranty;
    m. Whether Plaintiff and the Class are entitled to equitable and/or injunctive relief;
    n. Whether Defendants were unjustly enriched by its unlawful conduct;
    o. Whether Plaintiffs and the Class have sustained damages as a result of Defendants’
    unlawful conduct; and
    p. The proper measure of damages sustained by Plaintiffs and Class Members.


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103.          Typicality: Plaintiff’s claims are typical of the claims of the Class Members he seeks

   to represent because Plaintiff, like the Class Members, purchased defendants’ misleading and

   deceptive Products. Defendants’ unlawful, unfair and/or fraudulent actions concern the same

   business practices described herein irrespective of where they occurred or were experienced.

   Plaintiff and the Class sustained similar injuries arising out of defendants’ conduct. Plaintiff’s

   and Class Members’ claims arise from the same practices and course of conduct and are based on

   the same legal theories.

104.          Adequacy: Plaintiff is an adequate representative of the Class he seeks to represent

   because his interests do not conflict with the interests of the Class Members Plaintiff seeks to

   represent. Plaintiff will fairly and adequately protect Class Members’ interests and has

   retained counsel experienced and competent in the prosecution of complex class actions and tort

   law, including complex questions that arise in high stakes-litigation.

105.          Superiority and Substantial Benefit: A class action is superior to other methods for

   the fair and efficient adjudication of this controversy, since individual joinder of all members of

   the Class is impracticable and no other group method of adjudication of all claims asserted

   herein is more efficient and manageable for at least the following reasons:

               a. The claims presented in this case predominate over any questions of law or fact, if
               any exist at all, affecting any individual member of the Class;
               b. Absent a Class, the members of the Class will continue to suffer damage and
               Defendants’ unlawful conduct will continue without remedy while Defendants profit
               from and enjoys its ill-gotten gains;
               c. Given the size of individual Class Members’ claims, few, if any, Class Members
               could afford to or would seek legal redress individually for the wrongs Defendants
               committed against them, and absent Class Members have no substantial interest in
               individually controlling the prosecution of individual actions;



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                 d. When the liability of Defendants has been adjudicated, claims of all members of
                 the Class can be administered efficiently and/or determined uniformly by the Court;
                 and
                 e. This action presents no difficulty that would impede its management by the Court

                 as a class action, which is the best available means by which Plaintiff and Class

                 Members can seek redress for the harm caused to them by defendants.

106.   Because Plaintiff seeks relief for all members of the Class, the prosecution of separate

   actions by individual members would create a risk of inconsistent or varying adjudications with

   respect to individual members of the Class, which would establish incompatible standards of

   conduct for defendants.

107.   The prerequisites to maintaining a class action for injunctive or equitable relief

   pursuant to Fed. R. Civ. P. 23(b)(2) are met, as defendants have acted or refused to act on

   grounds generally applicable to the Class, thereby making appropriate final injunctive or

   equitable relief with respect to the Class as a whole.

108.    Plaintiff and his counsel are unaware of any difficulties that are likely to be encountered in

   the management of this action that would preclude its maintenance as a class action.



                                        First Cause of Action:
                                (1) Violation of New York GBL § 349
                                (On Behalf of Plaintiff and the Class)

109.   Plaintiff incorporates by reference all preceding paragraphs.

110.   New York General Business Law Section 349 (“GBL § 349”) declares unlawful “deceptive

   acts or practices in the conduct of any business, trade or commerce or in the furnishing of any

   service in this state....”




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111.   The conduct of Defendants, including its unsubstantiated safety and toxicity claims and

   package labeling and marketing, and other conduct alleged herein constitutes recurring,

   "unlawful" deceptive acts and practices in violation of GBL § 349. Defendants misleadingly,

   inaccurately, and deceptively presents its Products to consumers.

112.   Defendants’ improper consumer-oriented conduct is misleading in a material way in that it,

   inter alia, induced Plaintiff and other Class members to purchase and/or pay a premium for

   defendants’ Products when they otherwise would not have.

113.   Defendants made their untrue or misleading statements and representations willfully,

   wantonly, and with reckless disregard for the truth.

114.   Plaintiff and other Class members have been injured inasmuch as they paid a premium for

   the Product. Accordingly, Plaintiffs and other Class members received less than what they

   bargained or paid for.

115.   As a result of the false and misleading labeling, the Products are sold at a premium price,

   approximately no less than $10.59 for 16-ounce ZORBX containers, excluding tax, compared to

   other similar products represented in a non-misleading way.

116.   Defendant's deceptive and misleading practices constitute a deceptive act and practice in the

   conduct of business in violation of New York General Business Law §349(a) and Plaintiff and

   other members of the Class have been damaged thereby.

117.   As a result of defendants’ recurring deceptive acts and practices, Plaintiff and other Class

   members are entitled to monetary and compensatory damages, restitution and disgorgement of

   all moneys obtained by means of defendants’ unlawful conduct, interest; and attorneys' fees.

                                       Second Cause of Action:
                                (2) Violation of New York GBL § 350
                                (On Behalf of Plaintiff and the Class)



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118.   Plaintiff repeats and realleges each and every allegation contained in all the foregoing

   paragraphs as if fully set forth herein.

119.   N.Y. Gen. Bus. Law§ 350 provides, in part, as follows:

              False advertising in the conduct of any business, trade or commerce or in the
              furnishing of any service in this state is hereby declared unlawful.

120.   Further, N.Y. Gen. Bus. Law§ 350a(l) provides, in part, as follows:

              The term 'false advertising, including labeling, of a commodity, or of the kind,
              character, terms or conditions of any employment opportunity if such
              advertising is misleading in a material respect. In determining whether any
              advertising is misleading, there shall be taken into account (among other things)
              not only representations made by statement, word, design, device, sound or any
              combination thereof, but also the extent to which the advertising fails to reveal
              facts material in the light of such representations with respect to the commodity
              or employment to which the advertising relates under the conditions proscribed
              in said advertisement, or under such conditions as are customary or usual ...

121.   Defendants’ labeling of the Products contains untrue and materially misleading "Non-Toxic"

   “No Harsh Chemicals”, and” Safe for All Surfaces” and “Safe for People, Pets & the Planet.”

   representations.

122.   Plaintiff and Class Members have been injured inasmuch as they relied upon the false and

   deceptive representations and paid a premium for the Products.

123.   Accordingly, Plaintiff and Class Members received less than what they bargained or paid for.

124.   Defendant's packaging and product labeling induced Plaintiff and Class Members to buy

   Defendant's Products.

125.   Defendants made the untrue and misleading statements and representations wantonly, and

   with reckless disregard for the truth.

126.   Defendants also made the untrue and misleading statements and representations willfully, as

   they knew for years that their representations were not true or accurate, yet continued to procure

   them anyway.


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127.   Defendants made the material misrepresentations described herein on the Products’

   packaging, labeling, and marketing.

128.   Defendants’ material misrepresentation was and is substantially uniform in content,

   presentation, and impact upon consumers at large.

129.   Moreover, all consumers purchasing the Products were and continue to be exposed to

   defendants’ material misrepresentations.

130.   As a result of defendants’ recurring, acts and practices in violation of GBL § 350, Plaintiff

   and Class Members are entitled to monetary and compensatory damages, restitution and

   disgorgement of all moneys obtained by means of defendants’ unlawful conduct, interest, and

   attorneys' fees and costs as well as statutory damages of $500 per unit purchased.


                                  Third Cause of Action:
                                  (3) Breach of Warranty
        (On Behalf of Plaintiff and the Nationwide Class and the New York Class)

131.   Plaintiff re-alleges and incorporate by reference all allegations contained in the Complaint, as

   though fully set forth herein.

132.   Plaintiff brings this cause of action for breach of warranty on their behalf individually and on

   behalf of the Class (which includes the Nationwide Class and New York Class).

133.   By advertising and selling the Products at issue, Defendants made promises and affirmations

   of fact on the Products’ packaging and labeling, and through its marketing and advertising, as

   described herein. This labeling and advertising constitute express warranties and became part of

   the basis of the bargain between Plaintiff and members of the Class and defendants.

134.   Defendants purport, through the Products’ labeling and advertising, to create express

   warranties that the Products are a “NON-TOXIC” and contain “NO HARSH CHEMICALS.”




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135.   Despite Defendants’ express warranties about the nature of the Products, the Products are not

   “Non-Toxic” and do indeed contain “Harsh Chemicals” are not “Safe For All Surfaces” or

   “Safe For People, Pets, & the Planet/[Environment].” Therefore, the Products are not what

   defendants represented them to be.

136.   Accordingly, defendants breached express warranties about the Products and their qualities

   because the Products do not conform to defendants’ affirmations and promises.

137.   As a direct and proximate result of Defendants’ breach of express warranty, Plaintiff and

   members of the Class were harmed in the amount of the purchase price they paid for the

   Products. Further, Plaintiff and the Class have suffered and continue to suffer economic losses

   and other damages including, but not limited to, the amounts paid for the Products, plus pre and

   post judgment interest, in an amount to be proven at trial. Moreover, Plaintiff and the Class are

   entitled to seek, and do seek, punitive damages as a result of Defendants’ malicious, fraudulent,

   and oppressive conduct alleged herein.

                                   Fourth Cause of Action:
                                    (4) Unjust Enrichment
        (On Behalf of Plaintiff and the Nationwide Class and the New York Class)

138.   Plaintiff re-alleges and incorporates by reference all allegations contained in the complaint,

   as though fully set forth herein.

139.   Plaintiffs bring this cause of action for unjust enrichment or restitution (a quasi-contract

   cause of action) on Plaintiff’s behalf individually and on behalf of the Class (which includes both

   the Nationwide Class and New York Class).

140.   Defendants enticed Plaintiff and the Class to purchase the Products through false and

   misleading labeling and advertising that identifies the Products as “non-toxic”, when the




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   Products’ formulations contain ingredients that pose of risk of harm to humans, animals, and/or

   the environment.

141.     By purchasing the Products, Plaintiff and members of the Class conferred a benefit on

   defendants in the form of the purchase price of the Products.

142.     Defendants had knowledge of such benefit and knowingly and deliberately received such

   benefit. Defendants appreciated the benefit because, were consumers not to purchase the

   Products, defendants would not generate revenue from the sales of the Products.

143.     Defendants’ acceptance and retention of the benefit is inequitable and unjust because the

   benefit was obtained by defendants’ fraudulent & misleading representations and omissions

   regarding the true nature of the Products. Therefore, Plaintiff and the Class are entitled to seek,

   and do seek, restitution and/or disgorgement of the monies paid to defendants for the Products up

   to and including the total purchase price as Plaintiff and the Class would not have purchased the

   Products at all, or would have otherwise purchased the Products at a lesser price, had they known

   that the Products were not as advertised, plus pre and/or post judgment interest. Plaintiff and the

   Class further seek Punitive damages as a result of Defendant’s malicious, fraudulent and

   oppressive conduct alleged herein.

                                         PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

       pray for judgment against defendants as follows:

         a.      Injunction: For an order requiring Defendants to immediately cease and desist from
                 selling the unlawful Products in violation of law; enjoining Defendants from
                 continuing to market, advertise, distribute, and sell the Products in the unlawful
                 manner described herein; and ordering Defendants to engage in corrective action to
                 dispel the public misconception regarding the Products;



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b.       Declaratory Relief: For an order declaring that Defendants’ conduct violates the
         statutes and laws referenced herein;

c.       Monetary Damages/Restitution/Disgorgement: For an order awarding, as
         appropriate under the various causes of action asserted herein, compensatory
         damages, monetary damages, restitution, and/or disgorgement to Plaintiff and the
         Class;

d.       Punitive Damages: For an order awarding Punitive damages;

e.       Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs;

f.       Pre/Post-Judgment Interest: For an order awarding pre/ post-judgment interest; and

e.       All Just and Proper Relief: For any and all other and further relief that the Court may
         deem just and proper.


                             DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a trial by jury on all causes of action so triable.


Dated: December 27, 2021
       Syosset, New York


                                                Respectfully submitted,
                                                By:_______S/_______
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